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11                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13

14    IN RE GOOGLE ASSISTANT PRIVACY                        Case No.: 5: 19-cv -04286-BLF
      LITIGATION
15                                                          PLAINTIFFS’ ADMINISTRATIVE
      This Document Relates to:                             MOTION FOR RELIEF FROM CASE
16                                                          MANAGEMENT SCHEDULE ( L. R . 7- 11 ,
                                                            16-2( d))
17    ALL ACTIONS
                                                            Judge: Hon. Beth L . Freeman
18

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22          PLEASE TAKE NOTICE that plaintiffs Asif Kumandan, Melissa Spurr, and Melissa

23   Spurr as guardian of B.S., a minor, Lourdes Galvan , Eleeanna Galvan, Edward Brekhus, and Jon

24   Hernandez (“ Plaintiffs”), pursuant to Civil L.R. 7- 11 and 16-2( d ), hereby submit the following

25   Administrative Motion for Relief from Case Management Schedule (“Administrative Motion” ).

26   This Administrative Motion is submitted in conjunction with the Declaration of Andrea Farah , and

27   all pleadings, exhibits, and papers on file, and any other matter properly before this Court.

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 1          Plaintiffs bring this Administrative Motion in connection with a scheduling dispute which

 2   arose after Google produced approximately 2.7 million pages of documents on March 29, 2022

 3   (“March 29 Production”) one day after the Court entered the Parties’ March 28, 2022 stipulation

 4   to modify the case schedule, ECF No. 161    —and approximately 28,000 pages of documents on
 5   April 5, 2022 (“April 5 Production”) as set forth in detail below.
6    I.     PROCEDURAL HISTORY
 7          This Action has a long procedural history, including four amended complaints,

 8   consolidation with later-fded related actions, and three rounds of motions to dismiss. During the

 9   pendency of Defendants’ first Motion to Dismiss, on May 4, 2020, Plaintiffs served their First Set

10   of Requests for Documents (“ Requests”), seeking 35 categories of documents. The Parties met and
11   conferred repeatedly to discuss the parameters of Google’s search for and production of responsive

12   documents. Google represented repeatedly during several meet and confers that, with the exception

13   of a few categories of documents not pertinent to this Administrative Motion, Google was not

14   withholding documents responsive to any of Plaintiffs’ Requests. Despite this representation,
15   Google produced a total of just 774 documents over the course of 11 months.
16          While negotiating search terms with Plaintiffs, Google raised objections of burden and

17   proportionality. Attempting to address these concerns, Plaintiffs repeatedly requested that Google
18   provide a hit count report , indicating the volume of documents responsive to Plaintiffs’ proposed
19   search terms. Google flatly refused to provide a hit count report or other specifics substantiating

20   the burden it claimed. Instead , Google insisted it would only accept search terms that did not hit

21   on more than 50,000 unique documents. And while Google refused to make a counter-proposal to

22   Plaintiffs’ search terms, Plaintiffs made three additional proposals to Google, each designed to

23   reduce the number of responsive search hits to under 50,000. Once the Parties finalized their search

24   terms, Google informed Plaintiffs, during the Parties’ meet and confer on March 17, 2022, that the

25   remainder of the documents to be produced by Google was not “many more” and “not massive.”
26   Google made this representation despite knowing that Google was about to produce 2.7 million
27   pages of documents to Plaintiffs seven business days later, on March 29, 2022.
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 1            Based on Google’s representation during the Parties’ meet and confers, Plaintiffs agreed,
 2   and jointly with Google, submitted a Stipulation to Adjust the Case Schedule on March 28, 2022

 3   ( the “Stipulation” ) ( ECF No. 160). The Stipulation adjusted the case schedule by approximately 7

 4   weeks, which Plaintiffs estimated would be sufficient to review the “not many more” documents

 5   to come from Google. The next day, March 29, 2022, the Court entered the Stipulation ( ECF No.

6    161 ), setting the deadline for Plaintiffs’ class certification motion to May 18, 2022 and setting the

 7   close of fact discovery on July 8, 2022 - 67 days from today.

 8   II .     CIRCUMSTANCES SUPPORTING REQUESTED RELIEF
 9             The Timing of Google's Production : The day after the Stipulation was entered by the
10   Court, on March 29, 2022, Google made a production on an external hard drive to Plaintiffs’

11   counsel’s offices in New York . The hard drive contained 105 GB of data in zip format   —more than
12   157 GB when expanded      —a quantity of data so huge that it took Plaintiffs almost 7 days just to
13   unzip and load its contents onto a review platform. The March 29 Production consisted of 6,105
14   documents totaling 2.7 million pages, of which well over half ( 3,261 ) consisted of data analyses

15   and reports ranging in length between approximately 800 and 1 ,200 pages each . These reports

16   reflect Google’s systematic and persistent testing of the frequency of false accepts by Google

17   Assistant   — a theme critical to Plaintiffs’ claims. Google’s April 5, 2022 production contained an
18   additional 28,000 pages of similar documents. These 2.7 million - plus pages are squarely

19   responsive to several Requests 1 served on Google nearly two years ago , which Google represented
20
     l
21       See RFP No. 3 (seeking “[a]ll statistical analysis, reports, data compilations, and/or data sets
22   showing the error rate of the speech recognition software utilized by Google Assistant for the

23   dictations and listening functionalities.”); RFP No. 6 ( seeking “[djocuments sufficient to show

24   the process by which Google Assistant or Google analyzes, identifies and/or recognizes False

25   Accepts.” ); RFP No. 16 ( seeking “[djocuments sufficient to show the rate of error and frequency

26   of when Google Assistant incorrectly identifies surrounding audio as a hot word ( i.e., ‘False

27   Accept ’ ).”

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 1   were not being withheld on the basis of any of its objections. Indeed, Google produced a much

 2   smaller volume ( approximately 280) of similar reports in November 2021, creating the impression

 3   that Google had completed its production of documents reflecting relevant testing data.

 4           The Substance of Google's Delayed Production : On March 31 , 2022, as soon as

 5   Plaintiffs were able to unzip and view Google’s massive production, Plaintiffs promptly scheduled

6    a telephonic meet and confer with Google to inquire about the nature and source of these

 7   documents. Google attempted to downplay these reports as irrelevant “machine generated ” content

 8   that Plaintiffs could just “ batch code” without taking the time to actually review . Even without

 9   knowing a thing about what the documents contain, the proposal is absurd on its face. Clearly
10   Google considered the documents responsive to Plaintiffs’ Requests and not subject to a valid

11   relevance objection (or it would not have produced them ).

12          But more than that, the substance of these reports bears directly on the conduct at the heart

13   of this case: Google’s recording, and subsequent use, of audio without users’ consent via false
14

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16                                                           . Beaufays Dep. Vol. 1, 31:13-22, Apr. 12,
17   2022; Ex. 1 , Beaufays Dep. Vol. 1 , at 00257461

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19                                                       As this Court explained in its order on Google’s
20   motion to dismiss, one factor that may evidence the intentionality of Google’s conduct is Google’s
21   failure to destroy audio recordings that it knows were produced by false accepts, as well as

22   Google’s “ persistence in using the recordings for personalized advertising or to improve the

23   functionality of the Google Assistant even after they become aware of their provenance.” ECF No.

24   80 at 10. These reports provide precisely that type of evidence. Just one potential use to which

25   Plaintiffs could put these documents is to

26                                                                                                  In this

27   way, Plaintiffs could identify the specific utterances that were both: (i ) collected non-consensually
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 1   from users; and (ii )                                          ; and/or ( iii )

 2                                             . Beaufays Dep. Vol. 2, 287:10-20, Apr. 22, 2022
 3

 4   id. at 284:7-25

 5                                                          1   '     :!      , : ! ici   :   .   i   !   .
                                                                                                              '

                                                                                                                  r . ; vi : i ii - - J ' l . ;

6    used for Google’s own benefit and /or reviewed by human vendors goes to the heart of Plaintiffs’
 7   claims as well as issues of ascertainability on class certification .

 8           The Prejudice to Plaintiffs Absent Additional Time to Review the 2.7 Million - Plus
 9   Page   Production : As a result of Google’s gamesmanship, and despite their own diligence in
10   negotiating and following up with Google, Plaintiffs have less than 5 weeks to review and process

11   over 2.7 million pages of dense technical content that bears directly on the subject matter of their

12   claims, while simultaneously deposing Google’s witnesses in preparation for class certification .

13   Notably, Plaintiffs still do not have a complete understanding of each of the fields in the reports.
14   Upon receiving the massive production, Plaintiffs immediately deposed Francoise Beaufays, the
15   individual from whose custodial files many of the reports were produced (also Google’s 30( b)( 6)
16   designee for a variety of highly technical topics), to learn more. Ms. Beaufays confirmed that the

17               reflected

18   ( Beaufays Dep. Vol . 1 at 18: 10- 18 ). However, Ms. Beaufays

19

20              at 45 : 16 - 46 : 2. 49 : 3- 16 . Mr . ( iruenstein. curiouslv . was not a custodian for these reports .

21   When Plaintiffs had previously requested that Google search Mr. Gruenstein ’s files, Google

22   represented that it was unnecessary because his documents and knowledge would overlap with
23   Ms. Beaufays’. Clearly, this was incorrect, as Google has effectively acknowledged by now

24   consenting to produce Mr. Gruenstein for deposition . This strategic impeding Plaintiffs’ access to

25   the right person to explain the contents of the reports only further compounds the prejudice to

26   Plaintiffs from Google’s untimely production.

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 1                                          CONCLUSION
 2          Accordingly, the Court should adjust the pre-trial schedule by 3 months to accommodate
 3   for the review of the voluminous March 29 and April 5 Productions, as set forth in detail in the

 4   Proposed Order filed herewith.
     Dated: May 2, 2022                          /s/ Andrea Farah
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